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                                    UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                         PORTLAND DIVISION



JEFFREY PETERSON,                                       Case No. 3:18-cv-01876-HZ

                   Plaintiff,                           ORDER GRANTING STIPULATION FOR
                                                        BINDING ARBITRATION AND STAY OF
       v.                                               ACTION

MACY'S, INC.,

                   Defendant.



                                                 ORDER

PURSUANT TO THE STIPULATION OF THE PARTIES, IT IS SO ORDERED THAT:

      1.           The parties shall submit all claims in the above-captioned action to binding

                   arbitration pursuant to the arbitration agreement contained in the Card Agreement

                   attached to the Stipulation as Exhibit 1.

      2.           This matter shall be stayed pending binding arbitration.

///

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                                                                                          TOMASI SALYER MARTIN
Page 1 - ORDER GRANTING STIPULATION FOR BINDING                                                 Attorneys at Law
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      3.          Within a reasonable time after a final award is granted, or settlement is reached,

                  either party shall advise this court of the outcome of the arbitration proceedings,

                  or any settlement.

DATED: January ____, 2019.


                                                   Hon. Marco A. Hernandez
                                                   U.S. District Judge

SUBMITTED BY:

/s/ Eleanor A. DuBay
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